30 F.3d 132
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Terry Elmer MILLER, Defendant Appellant.
    No. 93-6695.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 14, 1994.Decided July 27, 1994.
    
      Appeal from the United States District Court for the Northern District of West Virginia at Elkins.  Robert Earl Maxwell, District Judge.  (CR-89-237)
      Terry Elmer Miller, appellant pro se.
      Thomas Oliver Mucklow, Asst. U.S. Atty., Wheeling, W Va, for appellee.
      N.D.W.Va.
      AFFIRMED.
      Before MURNAGHAN, HAMILTON and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Miller, No. CR-89-237 (N.D.W. Va.  June 15, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    